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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALEXANDRE BALACI and
 LISA BALACI, H/W                                       Complaint for a
 615 Lincoln Drive.                                     Civil Case
 Wernersville, PA 19565
                    Plaintiffs,                         Case No.
                v.

                                                        Jury Trial Demanded

 MONSANTO COMPANY
 800 N. Lindbergh Blvd.
 St. Louis, MO 63167,
                   Defendant.

                     COMPLAINT AND DEMAND FOR JURY TRIAL

                                       INTRODUCTION

       1.      Alexandre Balaci began using Roundup in 1998 on his eleven-acre residential

property in Wernersville, PA. From early spring to the end of summer, Mr. Balaci sprayed Roundup

regularly to control weeds on and around the property. After all, Monsanto promoted Roundup as

being harmless to humans for over thirty years—going so far as to proclaim the product as being

as safe as table salt. The truth, however, is far more insidious. The active chemical in Roundup,

glyphosate, is a carcinogen, and Monsanto has known this fact for decades.

       2.      In September of 2017, Mr. Balaci was diagnosed with non-Hodgkin’s lymphoma

and has received Rituximab therapy every other month for two years. He is presently still treating

with Rituximab.

       3.      Alexandre Balaci would not have used Roundup if he knew it could cause cancer.

       4.      The International Agency for Research on Cancer (IARC), an organization within

the World Health Organization (WHO), conducted an exhaustive analysis on the toxicity of
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glyphosate. The IARC has already reviewed hundreds of other chemical agents and has

convened a panel of seventeen renowned scientists from eleven countries. The year-long study

resulted in the publication of an IARC Monograph, the authoritative standard for cancer hazard

assessment around the world. The IARC classified glyphosate as a Group 2A hazard, which is

the second highest hazard rating and means that glyphosate is a probable human carcinogen.

Additionally, the IARC concluded there was a positive association between glyphosate exposure

and non-Hodgkin lymphoma. As a result of the IARC’s study of glyphosate, the State of

California’s Office of Environmental Health Hazard Assessment (OEHHA) has decided to list

glyphosate as an agent “known to the state to cause cancer” under Proposition 65.

       5.      In 1970, Defendant Monsanto discovered the herbicidal properties of glyphosate

and began using it in its products in 1974 and marketing it under the brand name, Roundup.

Roundup is a non-selective herbicide used to kill weeds that commonly compete with the

growing of crops. By 2001, glyphosate had become the most used active ingredient in American

agriculture with 85–90 million pounds used annually. That number grew to 185 million pounds

by 2007.

       6.      Monsanto has represented Roundup as being safe to humans and the environment

since it began selling the herbicide. Indeed, Monsanto has proclaimed and continues to proclaim

to the world, and particularly to United States consumers, that glyphosate-based herbicides,

including Roundup, create no unreasonable risks to human health or to the environment. This

is untrue. Before glyphosate was first approved by the Environmental Protection Agency

(EPA), Monsanto knew that glyphosate could pose significant risks to human health, including

a risk of causing cancer. This lawsuit seeks to hold Monsanto accountable for this misconduct.

                                       PARTIES


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        7.      Plaintiff Alexandre Balaci is an individual who resides in Berks county,

Pennsylvania. Mr. Balaci began using Roundup in 1998 and continued using it through 2017.

Berks County, Pennsylvania was the jurisdiction in which a substantial part of the events or

omissions giving rise to Plaintiff’s claim occurred, pursuant to 28 U.S.C. § 1391(b)(2).

        8.      Plaintiff Lisa Balaci, wife of Alexandre Balaci, is an individual who resides in

Berks County, PA which is the jurisdiction in which a substantial part of the events or omissions

giving rise to Plaintiffs’ claim occurred, pursuant to 28 U.S.C. § 1391(b)(2).

        9.      Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with its

headquarters and principal place of business in St. Louis, Missouri. Monsanto is a citizen of the

State of Missouri and Delaware and is not a citizen of the State of Pennsylvania. At all times

relevant to this complaint, Monsanto was the entity that discovered the herbicidal properties of

glyphosate and was the manufacturer of the Roundup at issue.

                                   JURISDICTION AND VENUE

        10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)

because there is complete diversity of citizenship between the parties. In addition, Plaintiffs

seek damages in excess of $75,000, exclusive of interest and costs.

        11.     This Court has personal jurisdiction over Monsanto insofar as Monsanto is

authorized and licensed to conduct business in the State of Pennsylvania, maintains and carries

on systematic and continuous contacts in this judicial district, regularly transacts business within

this judicial district, and regularly avails itself of the benefits of this judicial district.

        12.     The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

        13.     Additionally, Monsanto caused tortious injury by acts and omissions in this

judicial district and caused tortious injury in this district by acts and omissions outside this

district while regularly doing and soliciting business, engaging in a persistent course of conduct,
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and deriving substantial revenue from goods used or consumed and services rendered in this

judicial district.

        14.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b)(2), because

events or omissions giving rise to this claim occurred within this judicial district.

                                   FACTUAL ALLEGATIONS

        15.      Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world, including the popular herbicide, Roundup.

        16.      Glyphosate interferes with a plant’s ability to form aromatic amino acids necessary

for protein synthesis. Plants treated with glyphosate generally die within two to three days.

Because plants absorb glyphosate, it cannot be completely removed by washing or peeling

produce, or by milling, baking, or brewing grains.

        17.      The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist, John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970s under the brand name Roundup.

        18.      For about 40 years, consumers around the world have used Roundup, containing

glyphosate, without knowing of the dangers its use poses. That is because, when Monsanto first

introduced Roundup, it touted glyphosate as a technological breakthrough: it could kill almost

every weed without causing harm either to people or to the environment. History, however, has

demonstrated otherwise. According to WHO, the main chemical ingredient of Roundup—

glyphosate—is a probable carcinogen. Monsanto assured the public that Roundup was harmless.

In order to prove this, Monsanto championed falsified data and attacked legitimate studies

exposing glyphosate’s dangers. Monsanto orchestrated a prolonged campaign of misinformation

to convince government agencies and the general population that Roundup was safe. As a result

of this deception, the public has been exposed to a carcinogen, while Monsanto has made billions.
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   I.         Registration of Herbicides
        19.      The manufacture, formulation, and distribution of herbicides, such as Roundup, is

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), 7 U.S.C. §§ 136

et seq. FIFRA requires that all pesticides be registered with the EPA prior to distribution, sale, or

use, except as described by the Act. 7 U.S.C. § 136a(a).Because pesticides are toxic to plants,

animals, and humans, at least to some degree, the EPA requires as part of the registration process,

among other things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity

to people and other potential non- target organisms, and other adverse effects on the environment.

Registration by the EPA, however, is not an assurance or finding of safety. The EPA does not

deem certain products “safe,” but only that use of the product in accordance with its label directions

“will not generally cause unreasonable adverse effects on the environment.” 7 U.S.C. §

136a(c)(5)(D).

        20.      FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to conduct a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

        21.      FIFRA generally requires that the registrant, Monsanto in the case of Roundup,

conduct the health and safety testing of pesticide products. The EPA has protocols governing the

conducting of tests required for registration and the laboratory practices that must be followed in

conducting those tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, to perform the tests that are

required of the manufacturer.



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         22.      The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s review and evaluation.

         23.      In the case of glyphosate, the EPA planned on releasing its preliminary risk

assessment—in relation to the re-registration process—no later than July 2015. The EPA

completed its review of glyphosate in early 2015, but it delayed releasing the risk assessment

pending further review in light of the WHO’s health-related findings.

         24.      In April 2016, the EPA posted a risk assessment of glyphosate on its website and

then immediately retracted it. The EPA subsequently indicated that the posting was inadvertent,

that the document posted was not the EPA’s final assessment or even a preliminary one, and that

the EPA intended to issue a final report by the end of 2016.

   II.         Scientific Fraud Underlying the Marketing and Sale of Glyphosate


         25.      Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.

After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed

its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying

glyphosate, however, the EPA stated that “[i]t should be emphasized, however, that designation of

an agent in Group E is based on the available evidence at the time of evaluation and should not be

interpreted as a definitive conclusion that the agent will not be a carcinogen under any

circumstances.”

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          26.     On two occasions, the EPA found that laboratories hired by Monsanto to test the

toxicity of its Roundup products for registration purposes committed fraud.

          27.     In the first instance, Monsanto hired Industrial Bio-Test Laboratories (“IBT”) to

perform and evaluate pesticide toxicology studies relating to Roundup.             IBT performed

approximately 30 tests on glyphosate and glyphosate-containing-products, including 9 of the 15

residue studies needed to register Roundup with the EPA.

          28.     In 1976, the Food and Drug Administration (“FDA”) performed an inspection of

IBT and discovered discrepancies between the raw data and the final report relating to the

toxicological impacts of glyphosate. The EPA subsequently audited IBT and determined that the

toxicology studies conducted for the Roundup were invalid. An EPA reviewer stated, after finding

“routine falsification of data” at IBT, that it was “hard to believe the scientific integrity of the

studies when they said they took specimens of the uterus from male rabbits.”

          29.     Three top executives of IBT were convicted of fraud in 1983
          30.     In the second incident, Monsanto hired Craven Laboratories in 1991 to perform

pesticide and herbicide studies, including several studies on Roundup. That same year, the owner

of Craven Laboratories and three of its employees were indicted, and later convicted, of fraudulent

laboratory practices in the testing of pesticides and herbicides.

   III.         Monsanto’s Market Dominance

          31.     The success of Roundup was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup sales, Monsanto’s

agriculture division was out-performing its chemicals division’s operating income, and that gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup market dominance and to ward off impending

competition.

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         32.      In response, Monsanto began the development and sale of genetically engineered

“Roundup Ready” seeds in 1996. Since Roundup Ready crops are resistant to glyphosate, farmers

can spray Roundup onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup even further.              By 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready seeds.               It also secured Monsanto’s

dominant share of the glyphosate/Roundup market through a marketing strategy that coupled

proprietary Roundup Ready seeds with continued sales of its Roundup herbicide.

         33.      Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready seeds, Roundup became Monsanto’s most profitable product. In

2000, Roundup accounted for almost $2.8 billion in sales, outselling other herbicides by a margin

of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate remains

one of the world’s largest herbicides by sales volume.

   IV.         Monsanto Falsely Advertised Roundup as Being Safe for Decades
          34.     In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup, were “safer than table salt” and “practically non-toxic” to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup are:

         a.       “Remember that environmentally friendly Roundup herbicide is biodegradable. It
                  won’t build up in the soil so you can use Roundup with confidence along
                  customers’ driveways, sidewalks and fences.”
         b.       “And remember that Roundup is biodegradable and won’t build up in the soil.
                  That will give you the environmental confidence you need to use Roundup
                  everywhere you’ve got a weed, brush, edging or trimming problem.”

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       c.        “Roundup biodegrades into naturally occurring elements.”
       d.        “Remember that versatile Roundup herbicide stays where you put it. That means
                 there’s no washing or leaching to harm customers’ shrubs or other desirable
                 vegetation.”
       e.        “This non-residual herbicide will not wash or leach in the soil. It ... stays where
                 you apply it.”
       f.        You can apply Roundup with “confidence because it will stay where you put it,”
                 it bonds tightly to soil particles, preventing leaching. Then, soon after application,
                 soil microorganisms biodegrade Roundup into natural products.
       g.        “Glyphosate is less toxic to rats than table salt following acute oral ingestion.”
       h.        “Glyphosate’s safety margin is much greater than required. It has over a 1,000-
                 fold safety margin in food and over a 700-fold safety margin for workers who
                 manufacture it or use it.”
       i.        “You can feel good about using herbicides by Monsanto. They carry a toxicity
                 category rating of ‘practically non-toxic’ as it pertains to mammals, birds and
                 fish.”
       j.        “Roundup can be used where kids and pets will play and breaks down into natural
                 material.” This ad depicts a person with his head in the ground and a pet dog
                 standing in an area that has been treated with Roundup.
       35.       On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

            a.    glyphosate-containing pesticide products or any component thereof are safe,
                  non- toxic, harmless or free from risk;
            b.    glyphosate-containing pesticide products or any component thereof
                  manufactured, formulated, distributed or sold by Monsanto are biodegradable;
            c.    glyphosate-containing pesticide products or any component thereof stay where
                  they are applied under all circumstances and will not move through the
                  environment by any means;
            d.    glyphosate-containing pesticide products or any component thereof are “good”
                  for the environment or are “known for their environmental characteristics”;
            e.    glyphosate-containing pesticide products or any component thereof are safer or
                  less toxic than common consumer products other than herbicides; and,
            f.    glyphosate-containing products or any component thereof might be classified as
                  “practically non-toxic.”




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        36.      Monsanto did not alter its advertising in the same manner in any state other than

New York and, based on information and belief, still has not done so today.

        37.      In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup as “biodegradable” and that it “left the soil clean.”

   V.         Assessments of Glyphosate and Roundup

        38.      IARC was created in 1965 as the specialized cancer agency of the World Health

Organization with support of the United States. IARC promotes international collaboration in

cancer research, “bringing together skills in epidemiology, laboratory sciences, and biostatistics to

identify the causes of cancer[.]”

        39.      IARC is transparent. The minutes and documents presented at its council meetings

are publicly available and, thus, are subject to scientific scrutiny. Starting in 1971, IARC began

assessing whether chemicals were carcinogenic through the Monograph program.

        40.      The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.

        41.      The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

        42.      A year before the Monograph meeting, the meeting is announced and there is a call

both for data and for experts. Eight months before the Monograph meeting, the Working Group
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membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings are published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

         43.   In assessing an agent, the IARC Working Group reviews the following information:

(a) human, experimental, and mechanistic data; (b) all pertinent epidemiological studies and cancer

bioassays; and (c) representative mechanistic data. The studies must be publicly available and have

sufficient detail for meaningful review, and reviewers cannot be associated with the underlying

study.

         44.   In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

         45.   On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, the Working Group consisted of 17 experts

from 11 countries who met from March 3–10, 2015, to assess the carcinogenicity of certain

herbicides, including glyphosate. Among the members were Lauren Zeise, Ph.D., of the California

Environmental Protection Agency, Matthew T. Martin, Ph.D, a scientist with the U.S.

Environmental Protection Agency, and Gloria D. Jahnke, D.V.M., D.A.B.T. of the National

Institute of Environmental Health Sciences.




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       46.       The March meeting culminated after a nearly one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific

literature” as well as “data from governmental reports that are publicly available.”

       47.       The studies considered the various exposure groups, including occupational

exposure of farmers and tree nursery workers in the United States, forestry workers in Canada and

Finland, municipal weed-control workers in the United Kingdom, and para-occupational exposure

in farming families.

       48.       Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       49.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

       50.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies showed a

human health concern from agricultural and other work-related exposure to glyphosate.

       51.       The IARC Working Group conducted a systematic review of over 15 studies

designed to assess whether there was an association between Roundup exposure in agricultural

workers and Non-Hodgkin Lymphoma (NHL). The researchers reviewed each study, identified

the results and assessed each study’s strengths and weaknesses. The IARC Working Group




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concluded that, despite the limited evidence concerning the carcinogenicity of glyphosate in

humans, a “positive association has been observed for non-Hodgkin lymphoma.”

       52.     Overall, nine epidemiological studies showed positive associations between

glyphosate and NHL, with several studies showing statistically significant relative risks of NHL

exceeding 2.0 and even 3.0.

       53.     In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma

in male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

       54.     The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

In assessing the genotoxicity of glyphosate (the property of chemical agents that damages the

genetic information within a cell causing mutations, which may lead to cancer), the IARC Working

Group concluded “[t]here is strong evidence that glyphosate causes genotoxicity.”

       55.     Additionally, the IARC assessed whether glyphosate exposure can induce oxidative

stress, which is thought to be involved in the development of numerous conditions, including

cancer, autism, and Parkinson’s disease. The IARC concluded that “strong evidence exists that

glyphosate . . . can induce oxidative stress.” This could be an important mechanism by which

Roundup causes cancer. 1



1
 In addition to DNA damage and oxidative stress, scientists have suggested Roundup’s association
with various serious health conditions is linked to the effect Roundup has on the digestive system.
Specifically, scientists believe the same mechanism that makes Roundup toxic to weeds also
makes it toxic to the microbes within the human gut. When humans are exposed to Roundup, it
leads to a chronic inflammatory state in the gut, as well an impaired gut barrier, which can lead to
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       56.     In the IARC monograph for glyphosate, there is an entire section devoted to

exposure to humans, looking at studies examining glyphosate exposures in various settings

including agricultural ones. The IARC Working Group noted that glyphosate has been detected

in urine of agricultural workers, indicating absorption. The IARC Working Group specifically

evaluated farm workers in the United States, and found that, within the days following the

application of Roundup to a crop, approximately 60% of farm workers tested positive for

glyphosate in the urine. Additionally, the IARC Working Group noted that soil microbes degrade

glyphosate to aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure

suggests intestinal microbial metabolism in humans.

       The IARC Working Group also reviewed an Agricultural Health Study, consisting of a

prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While this

study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

       57.     In addition to the IARC’s assessment, in 2014, scientists published a systematic

review and meta-analysis on the relationship between non-Hodgkin lymphoma and occupational

exposure to agricultural pesticides, including glyphosate, in the International Journal of

Environmental Research and Public Health. The study showed a statistically significant

association between farm workers exposed to Roundup and non- Hodgkin lymphoma. The study

confirmed two smaller studies from 2002 and 2008, published in the journal Leukemia &

Lymphoma (2002) and the International Journal on Cancer (2008).



many long-term health effects, including an increased risk of cancer. statistically significant
increase in non-Hodgkin lymphoma among agricultural workers exposed to glyphosate.

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       58.     Recent studies, including a glyphosate residue study published in the Journal of

Environmental & Analytical Toxicology in 2014, indicate that “chronically ill humans showed

significantly higher glyphosate residues in urine than healthy population.” Glyphosate has been

detected in the blood and urine of agricultural workers, indicating that agricultural use of Roundup

leads to its absorption.

       59.     In addition to the studies examining glyphosate, research also suggests that the

carcinogenic properties of Roundup are magnified by the addition of adjuvants in the Roundup

formulation. Adjuvants are chemicals that are designed to modify or enhance the effects of other

agents. Monsanto has been including adjuvants with glyphosate in its Roundup products, which

are designed to increase the effectiveness of the herbicide. Studies show, however, that the

addition of adjuvants also greatly increases the carcinogenic properties of Roundup. Notably,

Monsanto has systematically tested glyphosate without the adjuvants and used those tests to lobby

the EPA that Roundup is safe.

       60.     Several countries around the world have instituted bans on the sale of Roundup and

other glyphosate-containing herbicides, both before and since IARC first announced its assessment

for glyphosate in March 2015, and more countries undoubtedly will follow suit as the dangers of

the use of Roundup are more widely known.

       61.     The Netherlands issued a ban on all glyphosate-based herbicides in April 2014,

including Roundup, which takes effect by the end of 2015. In issuing the ban, the Dutch Parliament

member who introduced the successful legislation stated: “Agricultural pesticides in user-friendly

packaging are sold in abundance to private persons. In garden centers, Roundup is promoted as

harmless, but unsuspecting customers have no idea what the risks of this product are. Especially

children are sensitive to toxic substances and should therefore not be exposed to it.”


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         62.      The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

         63.      France banned the private sale of Roundup and glyphosate following the IARC

assessment.

         64.      Bermuda banned both the private and commercial sale of glyphosate, including

Roundup. The Bermuda government explained: “Following a recent scientific study carried out

by a leading cancer agency, the importation of weed spray ‘Roundup’ has been suspended.”

         65.      The Sri Lankan government banned the private and commercial use of glyphosate

out of concern that glyphosate has been linked to fatal kidney disease in agricultural workers.

         66.      The government of Columbia announced a ban on using Roundup and glyphosate

to destroy illegal plantations of coca, the raw ingredient for cocaine in response to the IARC’s

assessment.

         67.      In November 2015, 96 prominent experts, including almost the whole IARC team,

reiterated IARC’s assessment that Roundup is probably a human carcinogen.

         68.      In late February 2016, another 14 scientists signed a consensus statement in the

Environmental Health journal, saying regulatory estimates of tolerable exposure levels for

glyphosate were based on outdated science.

         69.      In June 2016, the European Union parliament refused to re-register glyphosate

containing herbicides due to safety concerns.

   VI.         Plaintiff’s Exposure to Glyphosate and Discovery Rule; Equitable Estoppel

         70.      Mr. Balaci used Roundup regularly from 1998 through 2017 at his eleven-acre

residential property. During these years, Mr. Balaci regularly sprayed Roundup for weed prevention




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during the spring and summer months. Mr. Balaci would not have used the product if he knew it

could cause cancer.

       71.    In September 2017, Mr. Balaci was diagnosed with non-Hodgkin’s lymphoma and

underwent Rituximab therapy.

       72.    It was not until recently that Mr. Balaci earned that his non-Hodgkin’s lymphoma

was caused by his exposure to Roundup. Prior to this, Mr. Balaci was unaware of any connection

between Roundup exposure and cancer.

       73.    Monsanto engaged in two separate but parallel actions including:

              a. Monsanto affirmatively claimed and claims that Roundup and glyphosate
                 are safe to human users like Plaintiff. It affirmatively denied the
                 probability that Roundup and glyphosate are probably carcinogenic to
                 humans and are linked to blood born cancers including non-Hodgkin’s
                 lymphoma.

              b. Monsanto continues its campaign of denial of the scientific data amassed
                 by the WHO. This continuing denial is designed to cause confusion,
                 create credibility concerns, and cause users to continue to use Roundup.

       74.    Monsanto is equitably estopped to assert a statute of limitations defense. It made,

and continues to make, statements intended to be relied upon by the public that Roundup is safe

and harmless to humans. Plaintiff relied on these statements.

       75.    Plaintiff did not discover, and did not know of facts that would cause a

reasonable person to suspect, the risks associated with the use of and/or exposure to

Roundup and glyphosate, nor would a reasonable and diligent investigation by her have

disclosed that Roundup and glyphosate would cause her illnesses. For these reasons, all

applicable statutes of limitations have been tolled by operation of the discovery rule and

its invocation is estopped by Monsanto’s actions.




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       76.     Monsanto was under a continuous duty to disclose to consumers, users and other

persons coming into contact with its products, including Plaintiff, accurate safety information

concerning its products and the risks associated with the use of and/or exposure to

Roundup and glyphosate. Instead, Monsanto knowingly, affirmatively, and actively concealed

safety information concerning Roundup and glyphosate and the risks associated with the use

of and/or exposure to its products.

       77.     As a proximate result of Monsanto’s wrongful acts and omissions in placing its

defective Roundup products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, and in breach of its warranties, negligence and

strict liability, Plaintiff has suffered and continues to suffer severe and permanent physical and

emotional injuries. Plaintiff has endured the anguish of a cancer diagnosis, pain and suffering,

and economic losses and special damages, which are accruing and not now known.

                              LIMITATION ON ALLEGATIONS

       78.     Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       79.     The allegations in this pleading are made pursuant to Pennsylvania law. To the

extent Pennsylvania law imposes a duty or obligation on Monsanto that exceeds those required

by federal law, Plaintiffs do not assert such claims. All claims asserted herein run parallel to

federal law, i.e., Monsanto’s violations of Pennsylvania law were also violations of federal law.

Had Monsanto honestly complied with Pennsylvania law, it would also have complied with

federal law.

       80.     Additionally, Plaintiffs’ claims do not seek to enforce federal law. These claims

are brought under Pennsylvania law, notwithstanding the fact that such claims run parallel to

federal law.
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           81.       As alleged in this pleading, Monsanto violated U.S.C. § 136j and 40 C.F.R. §

  156.10(a)(5) by distributing Roundup, which was misbranded pursuant to 7 U.S.C. §136(g).

               Federal law specifically prohibits the distribution of a misbranded herbicide

                       COUNT I: STRICT LIABILITY (DESIGN DEFECT)

         82.       Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

         83.       Plaintiffs bring this strict liability claim against Monsanto for defective design.

         84.       At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup

products, which are defective and unreasonably dangerous to consumers, including the Plaintiff,

thereby placing Roundup products into the stream of commerce. These actions were under the

ultimate control and supervision of Monsanto. At all times relevant to this litigation, Monsanto

designed, researched, developed, manufactured, produced, tested, assembled, labeled, advertised,

promoted, marketed, sold, and distributed the Roundup products used by Plaintiff, as described

above.

         85.       At all times relevant to this litigation, Monsanto’s Roundup products were

manufactured, designed, and labeled in an unsafe, defective, and inherently dangerous manner that

was dangerous for use by or exposure to the public, and, in particular, the Plaintiff.

         86.       At all times relevant to this litigation, Monsanto’s Roundup products reached the

intended consumers, handlers, and users or other persons coming into contact with these products

in Pennsylvania and throughout the United States, including the Plaintiff, without substantial

change in their condition as designed, manufactured, sold, distributed, labeled, and marketed by

Monsanto.



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       87.     Monsanto’s Roundup products, as researched, tested, developed, designed,

licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were

defective in design and formulation in that, when they left the hands of Monsanto’s manufacturers

and/or suppliers, they were unreasonably dangerous and dangerous to an extent beyond that which

an ordinary consumer would contemplate.

       88.     Monsanto’s Roundup products, as researched, tested, developed, designed,

licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were

defective in design and formulation in that, when they left the hands of Monsanto’s manufacturers

and/or suppliers, the foreseeable risks exceeded the alleged benefits associated with their design

and formulation.

       89.     At all times relevant to this action, Monsanto knew or had reason to know that its

Roundup products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Monsanto.

       90.     Therefore, at all times relevant to this litigation, Monsanto’s Roundup products, as

researched, tested, developed, designed, licensed, manufactured, packaged, labeled, distributed,

sold and marketed by Monsanto were defective in design and formulation, in one or more of the

following ways:

       91.     When placed in the stream of commerce, Monsanto’s Roundup products were

defective in design and formulation, and, consequently, dangerous to an extent beyond that which

an ordinary consumer would contemplate.

       92.     When placed in the stream of commerce, Monsanto’s Roundup products were

unreasonably dangerous in that they were hazardous and posed a grave risk of cancer and other

serious illnesses when used in a reasonably anticipated manner.


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        93.        When placed in the stream of commerce, Monsanto’s Roundup products contained

unreasonably dangerous design defects and were not reasonably safe when used in a reasonably

anticipated or intended manner.

        94.        Monsanto did not sufficiently test, investigate, or study its Roundup products and,

specifically, the active ingredient glyphosate.

        95.        Exposure to Roundup and glyphosate-containing products presents a risk of

harmful side effects that outweigh any potential utility stemming from the use of the herbicide.

        96.        Monsanto knew or should have known at the time of marketing its Roundup

products that exposure to Roundup and specifically, its active ingredient glyphosate, could result

in cancer and other severe illnesses and injuries.

        97.        Monsanto did not conduct adequate post-marketing surveillance of its Roundup

products.

        98.        Monsanto could have employed safer alternative designs and formulations.

        99.        The Plaintiff was exposed to Monsanto’s Roundup products in the course of

spraying her properties, as described above, without knowledge of Roundup’s dangerous

characteristics.

        100.       At all times relevant to this litigation, Mr. Balaci used and/or was exposed to the

use of Monsanto’s Roundup products in an intended or reasonably foreseeable manner, i.e., as a

consumer, without knowledge of Roundup’s dangerous characteristics.

        101.       Plaintiffs could not reasonably have discovered the defects and risks associated

with Roundup or glyphosate-containing products before or at the time of exposure due to

Monsanto’s suppression of scientific information linking glyphosate to cancer.




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       102.    The harm caused by Monsanto’s Roundup products far outweighed their benefit,

rendering Monsanto’s product dangerous to an extent beyond that which an ordinary consumer

would contemplate. Monsanto’s Roundup products were and are more dangerous than alternative

products and Monsanto could have designed its Roundup products to make them less dangerous.

Indeed, at the time Monsanto designed its Roundup products, the state of the industry’s scientific

knowledge was such that a less risky design or formulation was attainable.

       103.    At the time Roundup products left Monsanto’s control, there was a practical,

technically feasible and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of Monsanto’s herbicides.

       104.    Monsanto’s defective design of its Roundup products was willful, wanton,

fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of

the Roundup products, including Plaintiffs herein.

       105.    Therefore, as a result of the unreasonably dangerous condition of its Roundup

products, Monsanto is strictly liable to Plaintiffs.

       106.    The defects in Monsanto’s Roundup products were substantial and contributing

factors in causing Plaintiff’s injuries and, but for Monsanto’s misconduct and omissions, Mr.

Balaci would not have sustained his injuries.

       107.    Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives

of consumers and users of its products, including Plaintiffs, with knowledge of the safety problems

associated with Roundup and glyphosate-containing products, and suppressed this knowledge

from the general public. Monsanto made conscious decisions not to redesign, warn or inform the

unsuspecting public. Monsanto’s reckless conduct warrants an award of punitive damages.




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       108.    As a direct and proximate result of Monsanto placing its defective Roundup

products into the stream of commerce, Plaintiff Mr. Balaci developed Non-Hodgkin’s lymphoma.

       109.    As a proximate result of Monsanto placing its defective Roundup products into the

stream of commerce, as alleged herein, there was a measurable and significant interval of time

during which Plaintiff suffered personal injury.

       110.    As a proximate result of Monsanto placing its defective Roundup products into the

stream of commerce, as alleged herein, Plaintiff sustained a loss of income, loss of earning capacity

and property damage

       111.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.

                 COUNT II: STRICT LIABILITY (FAILURE TO WARN)

       112.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       113.    Plaintiffs bring this strict liability claim against Monsanto for failure to warn.

       114.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup

products, which are defective and unreasonably dangerous to consumers, including Plaintiff,

because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup and specifically, the active ingredient glyphosate. These actions were

under the ultimate control and supervision of Monsanto.

       115.    Monsanto researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

its Roundup products, and in the course of same, directly advertised or marketed the products to
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consumers and end users, including Plaintiff, and therefore had a duty to warn of the risks

associated with the use of Roundup and glyphosate-containing products.

        116.    At all times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply,

provide proper warnings, and take such steps as necessary to ensure its Roundup products did not

cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

continuing duty to warn Plaintiff of the dangers associated with Roundup use and exposure.

Monsanto, as manufacturer, seller, or distributor of chemical herbicides is held to the knowledge

of an expert in the field.

        117.    At the time of manufacture, Monsanto could have provided the warnings or

instructions regarding the full and complete risks of Roundup and glyphosate-containing products

because it knew or should have known of the unreasonable risks of harm associated with the use

of and/or exposure to such products.

        118.    At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

promote the safety or to minimize the dangers to users and consumers of its product and to those

who would foreseeably use or be harmed by Monsanto’s herbicides, including Plaintiff.

        119.    Despite the fact that Monsanto knew or should have known that Roundup posed a

grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated

with use and exposure.       The dangerous propensities of its products and the carcinogenic

characteristics of glyphosate, as described above, were known to, or scientifically knowable to

Monsanto through appropriate research and testing by known methods, at the time it distributed,

supplied or sold the product, and not known to end users and consumers, such as Plaintiff.




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       120.    Monsanto knew or should have known that its products created significant risks of

serious bodily harm to consumers, as alleged herein, and Monsanto failed to adequately warn

consumers, i.e., the reasonably foreseeable users, of the risks of exposure to its products. Monsanto

has wrongfully concealed information concerning the dangerous nature of Roundup and its active

ingredient glyphosate, and further made false and/or misleading statements concerning the safety

of Roundup and glyphosate

       121.    At all times relevant to this litigation, Monsanto’s Roundup products reached the

intended consumers, handlers, and users or other persons coming into contact with these products

in Pennsylvania and throughout the United States, including Plaintiff, without substantial change

in their condition as designed, manufactured, sold, distributed, labeled, and marketed by

Monsanto.

       122.    Mr. Balaci was exposed to Monsanto’s Roundup products in the course of spraying

his property, as described above, without knowledge of their dangerous characteristics.

       123.    At all times relevant to this litigation, Plaintiff used and/or was exposed to the use

of Monsanto’s Roundup products while using them for their intended or reasonably foreseeable

purposes, without knowledge of their dangerous characteristics.

       124.    Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup or glyphosate-containing products prior to or at the time of Plaintiff’s exposure. Plaintiff

relied upon the skill, superior knowledge, and judgment of Monsanto to know about and disclose

serious health risks associated with using the products.

       125.    Monsanto knew or should have known that the minimal warnings disseminated

with its Roundup products were inadequate, failed to communicate adequate information on the

dangers and safe use/exposure, and failed to communicate warnings and instructions that were


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appropriate and adequate to render the products safe for their ordinary, intended and reasonably

foreseeable uses, including agricultural and horticultural applications.

       126.    The information that Monsanto did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiff

to utilize the products safely and with adequate protection. Instead, Monsanto disseminated

information that was inaccurate, false and misleading, and which failed to communicate accurately

or adequately the comparative severity, duration, and extent of the risk of injuries with use of

and/or exposure to Roundup and glyphosate; continued to aggressively promote the efficacy of its

products, even after it knew or should have known of the unreasonable risks from use or exposure;

and concealed, downplayed, or otherwise suppressed, through aggressive marketing and

promotion, any information or research about the risks and dangers of exposure to Roundup and

glyphosate

       127.    This alleged failure to warn is not limited to the information contained on

Roundup’s labeling. Monsanto was able, in accord with federal law, to comply with Pennsylvania

law by disclosing the known risks associated with Roundup through other non-labeling mediums,

i.e., promotion, advertisements, public service announcements, and/or public information sources.

Monsanto, however, did not disclose these known risks through any medium.

       128.    To this day, Monsanto has failed to adequately and accurately warn of the risks of

cancer associated with the use of and exposure to Roundup and its active ingredient glyphosate.

       129.    As a result of their inadequate warnings, Monsanto’s Roundup products were

defective and unreasonably dangerous when they left the possession and/or control of Monsanto,

were distributed by Monsanto, and used by Plaintiff in the spraying of his properties.




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       130.    Monsanto is liable to Plaintiffs for injuries caused by its negligent or willful failure,

as described above, to provide adequate warnings or other clinically relevant information and

data regarding the appropriate use of its products and the risks associated with the use of or

exposure to Roundup and glyphosate.

       131.    Had Monsanto provided adequate warnings and instructions and properly disclosed

and disseminated the risks associated with its Roundup products, Mr. Balaci could have avoided

the risk of developing injuries and could have obtained or used alternative herbicides.

       132.    As a direct and proximate result of Monsanto placing its defective Roundup

products into the stream of commerce, Plaintiff developed Non-Hodgkin Lymphoma and sustained

a loss of income, loss of earning capacity and property damage

       133.    As a proximate result of Monsanto placing its defective Roundup products into the

stream of commerce, as alleged herein, there was a measurable and significant interval of time

during which Plaintiff suffered great mental anguish and other personal injury.

       134.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.

                                  COUNT III: NEGLIGENCE

       135.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       136.    Monsanto, directly or indirectly, caused Roundup products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiff.

       137.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of its Roundup products, including the duty to take all reasonable
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steps necessary to manufacture, promote, and/or sell a product that was not unreasonably

dangerous to consumers and users of the product.

       138.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the marketing, advertisement, and sale of the Roundup products. Monsanto’s duty of care

owed to consumers and the general public included providing accurate, true, and correct

information concerning the risks of using Roundup and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup, and, in particular, its

active ingredient glyphosate.

       139.    At all times relevant to this litigation, Monsanto knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup and specifically, the

carcinogenic properties of the chemical glyphosate

       140.    Accordingly, at all times relevant to this litigation, Monsanto knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup products

could cause or be associated with Plaintiff’s injuries and thus, created a dangerous and

unreasonable risk of injury to the users of these products, including Plaintiff.

       141.    Monsanto also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to Roundup and glyphosate-containing products.

       142.    As such, Monsanto breached its duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup products, in that

Monsanto manufactured and produced defective herbicides containing the chemical glyphosate,

knew or had reason to know of the defects inherent in its products, knew or had reason to know


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that a user’s or consumer’s exposure to the products created a significant risk of harm and

unreasonably dangerous side effects, and failed to prevent or adequately warn of these risks and

injuries.

        143.    Monsanto was negligent in its promotion of Roundup, outside of the labeling

context, by failing to disclose material risk information as part of its promotion and marketing of

Roundup, including the Internet, television, print advertisements, etc.           Nothing prevented

Monsanto from being honest in its promotional activities, and in fact, Monsanto had a duty to

disclose the truth about the risks associated with Roundup in its promotional efforts, outside of the

of the context of labeling.

        144.    Despite its ability and means to investigate, study, and test its products and to

provide adequate warnings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully

concealed information and has further made false and/or misleading statements concerning the

safety and/or exposure to Roundup and glyphosate.

        145.    Monsanto’s negligence included:

                a.     Manufacturing, producing, promoting, formulating, creating, developing,
                       designing, selling, and/or distributing its Roundup products without
                       thorough and adequate pre- and post-market testing
                b.     manufacturing, producing, promoting, formulating, creating, developing,
                       designing, selling, and/or distributing Roundup while negligently and/or
                       intentionally concealing and failing to disclose the results of trials, tests,
                       and studies of exposure to glyphosate, and, consequently, the risk of
                       serious harm associated with human use of and exposure to Roundup;
                c.     Failing to undertake sufficient studies and conduct necessary tests to
                       determine whether or not Roundup products and glyphosate-containing
                       products were safe for their intended use in agriculture and horticulture;
                d.     Failing to use reasonable and prudent care in the design, research,
                       manufacture, and development of Roundup products so as to avoid the risk
                       of serious harm associated with the prevalent use of Roundup/glyphosate
                       as an herbicide;
                e.     Failing to design and manufacture Roundup products so as to ensure they
                       were at least as safe and effective as other herbicides on the market;
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               f.     Failing to provide adequate instructions, guidelines, and safety precautions
                      to those persons Monsanto could reasonably foresee would use and be
                      exposed to its Roundup products;
               g.     Failing to disclose to Plaintiff, users/consumers, and the general public
                      that use of and exposure to Roundup presented severe risks of cancer and
                      other grave illnesses;
               h.     Failing to warn Plaintiff, consumers, and the general public that the
                      product’s risk of harm was unreasonable and that there were safer and
                      effective alternative herbicides available to the Plaintiff and other
                      consumers;
               i.     Systematically suppressing or downplaying contrary evidence about the
                      risks, incidence, and prevalence of the side effects of Roundup and
                      glyphosate- containing products;
               j.     Representing that its Roundup products were safe for their intended use
                      when, in fact, Monsanto knew or should have known the products were
                      not safe for their intended purpose;
               k.     Declining to make or propose any changes to Roundup products’ labeling
                      or other promotional materials that would alert consumers and the general
                      public of the risks of Roundup and glyphosate;
               l.     Advertising, marketing, and recommending the use of the Roundup
                      products, while concealing and failing to disclose or warn of the dangers
                      known (by Monsanto) to be associated with or caused by the use of or
                      exposure to Roundup and glyphosate;
               m.     Continuing to disseminate information to its consumers, which indicate or
                      imply that Monsanto’s Roundup products are not unsafe for use in the
                      agricultural and
               n.     horticultural industries; and
               o.     Continuing the manufacture and sale of its products with the knowledge
                      that the products were unreasonably unsafe and dangerous.

       146.    Monsanto knew and/or should have known that it was foreseeable consumers such

as Mr. Balaci would suffer injuries as a result of Monsanto’s failure to exercise ordinary care in

the manufacturing, marketing, labeling, distribution, and sale of Roundup.

       147.    Plaintiff did not know the nature and extent of the injuries that could result from

the intended use of and/or exposure to Roundup or its active ingredient glyphosate.




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       148.    Monsanto’s negligence was the proximate cause of Plaintiff’s injuries, i.e., absent

Monsanto’s negligence, Plaintiff would not have developed cancer.

       149.    Monsanto’s conduct, as described above, was reckless. Monsanto regularly risks

the lives of consumers and users of its products, including Plaintiff, with full knowledge of the

dangers of its products. Monsanto has made conscious decisions not to redesign, re- label, warn,

or inform the unsuspecting public, including Plaintiff. Monsanto’s reckless conduct therefore

warrants an award of punitive damages.

       150.    As a proximate result of Monsanto’s negligence, as alleged herein, there was a

measurable and significant interval of time during which Plaintiff suffered great mental anguish

and other personal injury and damages.

       151.    As a proximate result of Monsanto’s negligence, as alleged herein, Plaintiff

sustained a loss of income, loss of earning capacity and property damage.

       152.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.

                    COUNT IV: BREACH OF IMPLIED WARRANTIES

       153.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       154.    At all times relevant to this litigation, Monsanto engaged in the business of testing

developing, designing, manufacturing, marketing, selling, distributing, and promoting its Roundup

products, which are defective and unreasonably dangerous to consumers, including the Plaintiff,

thereby placing Roundup products into the stream of commerce. These actions were under the

ultimate control and supervision of Monsanto.


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          155.   Before the time Plaintiff was exposed to the aforementioned Roundup products,

Monsanto impliedly warranted to its consumers—including Plaintiff—that its Roundup products

were of merchantable quality and safe and fit for the use for which they were intended; specifically,

as agricultural herbicides.

          156.   Monsanto, however, failed to disclose that Roundup has dangerous propensities

when used as intended and that use of and/or exposure to Roundup and glyphosate-containing

products carries an increased risk of developing severe injuries and death, including Plaintiff’s

cancer.

          157.   Plaintiff was the intended beneficiary of the implied warranties made by Monsanto

to the purchasers of its herbicides.

          158.   The Roundup products were expected to reach and did in fact reach consumers and

users, including Plaintiff, without substantial change in the condition in which they were

manufactured and sold by Monsanto.

          159.   At all times relevant to this litigation, Monsanto was aware that consumers and

users of its products, including Plaintiff, would use Roundup products as marketed by Monsanto,

which is to say that Plaintiff was a foreseeable user of Roundup.

          160.   Monsanto intended that its Roundup products be used in the manner in which

Plaintiff in fact used them and which Monsanto impliedly warranted each product to be of

merchantable quality, safe, and fit for this use, despite the fact that Roundup was not adequately

tested or researched.

          161.   In reliance upon Monsanto’s implied warranty, Plaintiff used Roundup as instructed

and labeled and in the foreseeable manner intended, recommended, promoted and marketed by

Monsanto.


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       162.    Plaintiff could not have reasonably discovered or known of the risks of serious

injury associated with Roundup or glyphosate.

       163.    Monsanto breached its implied warranty to the Plaintiff in that its Roundup

products were not of merchantable quality, safe, or fit for their intended use, or adequately tested.

Roundup has dangerous propensities when used as intended and can cause serious injuries,

including those injuries complained of herein.

       164.    The harm caused by Monsanto’s Roundup products far outweighed their benefit,

rendering the products more dangerous than an ordinary consumer or user would expect and more

dangerous than alternative products.

       165.    As a direct and proximate result of Monsanto’s breech of implied warranty,

Plaintiff sustained a loss of income, loss of earning capacity and property damage.

       166.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.

                    COUNT V: BREACH OF EXPRESS WARRANTIES

       167.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein. Monsanto has special knowledge skill and

expertise germane to herbicides and their design, manufacture testing, and marketing.             At

all times relevant, Monsanto engaged in the business of testing, developing, designing,

manufacturing, marketing, selling, distributing, and promoting its Roundup products, which are

defective and unreasonably dangerous to consumers, including Plaintiffs, thereby placing

Roundup products into the stream of commerce. These actions were under the ultimate control

and supervision of Monsanto. Plaintiffs assert a breach of express warranty claim.


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       168.     Monsanto had a duty to exercise reasonable care in the research,

development, design, testing, packaging, manufacture, inspection, labeling, distributing,

marketing, promotion, sale, and release of its Roundup products, including a duty to:

       a.       Reasonable assure that its products did not cause the user unreasonably
                dangerous side effects;

       b.       Warn of dangerous and potentially fatal side effects; and

       c.       Disclose adverse material facts, such as the true risks associated with use of
                Roundup and glyphosate-containing products, when making representations
                to consumers and the general public, including Plaintiff.

       169.     Monsanto expressly represented and warranted matters to Plaintiff and other

consumers and users, and through statements made by Monsanto in labels, publications,

package inserts, and other written materials. These representations included assurances

that its Roundup products were safe to human health and the environment, effective, fit, and

proper for their intended use and posed on risks of harm to humans. Monsanto advertised, labeled,

marketed, and promoted Roundup products, representing the quality to consumers and the public

in such a way as to induce purchase or use, thereby making an express warranty that its Roundup

products would conform to the representations.

       170.     These    express     representations     include     incomplete     warnings      and

instructions that purport, but fail, to include the complete array of risks associated with use of

and/or exposure to Roundup and glyphosate. Monsanto knew and/or should have known that

the risks expressly included in Roundup warnings and labels did not and do not accurately or

adequately set forth the risks of developing the serious injuries complained of herein.

Nevertheless, Monsanto expressly represented that its Roundup products were safe and effective,

that they were safe and effective for use by individuals such as Plaintiff, and/or that they were safe

and effective as agricultural herbicides.


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       171.     The representations about Roundup, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods

and became part of the basis of the bargain, creating an express warranty that the goods

would conform to the representations. Monsanto placed its Roundup products into the stream

of commerce for sale and recommended use without adequately warning of the true risks of

developing the injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate.

       172.     Monsanto breached these warranties. Its Roundup products were defective,

dangerous, unfit for use, did not contain labels representing the true and adequate nature of

the risks associated with their use, and were not merchantable or safe for their intended, ordinary,

and foreseeable use and purpose. Monsanto breached the warranties as follows:

       a.       Monsanto represented through its labeling, advertising, and marketing materials
                that its Roundup products were safe, and intentionally withheld and
                concealed information about the risks of serious injury and disease associated
                with use of and/or exposure to Roundup and glyphosate by expressly
                limiting the risks associated with use and/or exposure within its warnings and
                labels; and

       b.       Monsanto represented that its Roundup products were safe for use and
                fraudulently concealed information that demonstrated that glyphosate, the active
                ingredient in Roundup, had carcinogenic properties, and that its Roundup
                products, therefore, were not safer than alternatives available on the market.

       173.     Plaintiff justifiably and detrimentally relied on the express warranties and

representations of Monsanto in the purchase and use of its Roundup products. When Plaintiff

made the decision to purchase Roundup, he reasonably relied upon Monsanto to disclose

known risks, dangers, and effects of Roundup and glyphosate and he relied on Monsanto’s

continuing representations that the product is safe.

       174.     Plaintiff   had   no   knowledge       of   the   falsity   or   incompleteness   of

Monsanto’s statements and representations concerning Roundup.
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       175.    As a direct and proximate result of Monsanto’s breech of implied warranty,

Plaintiff sustained a loss of income, loss of earning capacity and property damage.

       176.    WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

Plaintiffs’ favor for compensatory and punitive damages, together with interest, costs herein

incurred, attorneys’ fees and all such other and further relief as this Court deems just and proper.

                           COUNT VI – LOSS OF CONSORTIUM

       177.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint.

       178.     As a result of the injuries and damages caused to Plaintiff Alexandre Balaci by

Defendants’ tortious conduct, Alexandre Balaci was unable to perform activities she had

previously commonly performed for the household, for the family, and for his own support.

Consequently, Plaintiff Lisa Balaci was required to:

         a.     Perform all activities and upkeep around the house;

         b.     Take over many of the activities and responsibilities Alexandre Balaci previously

                performed.

       179.     As a result of Defendants’ tortious conduct and Alexandre Balaci’s development

of non-Hodgkin’s lymphoma, Plaintiff Lisa Balaci effectively lost the companionship and

accompaniment of her husband for a period of time.

       180.     As a further result of Defendants’ defective product and the injuries they caused

to Alexandre Balaci and the resulting demands placed upon Lisa Balaci, Plaintiffs have suffered

lost wages and income.

       181.     As a direct and proximate result of the injuries caused to Plaintiff Alexandre

Balaci by Defendants’ tortious conduct, Plaintiff Lisa Balaci suffered the loss of her husband’s

consortium, companionship, society, intimacy, affection, services and support, and suffered and
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will continue to suffer economic damages, including lost wages and income.

         WHEREFORE, Plaintiff Lisa Balaci demands judgment against Defendant

 individually, jointly and/or severally for all such compensatory, statutory and punitive damages

 available under applicable law, together with interest, costs of suit, attorneys’ fees and all such

 other relief as the Court deems proper and appropriate.

                   EXEMPLARY AND PUNITIVE DAMAGES ALLEGATIONS


       182.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       183.    Monsanto’s conduct as alleged herein was done with oppression and malice.

Monsanto was fully aware of Roundup’s safety risks. Nonetheless, Monsanto deliberately crafted

its label, marketing, and promotion to mislead consumers.

       184.    This was not done by accident or through some justifiable negligence. Rather,

Monsanto knew that it could turn a profit by convincing the agricultural industry that Roundup

was harmless to humans, and that full disclosure of Roundup’s true risks would limit the amount

of money Monsanto would make selling Roundup in Pennsylvania.

       185.    This was accomplished not only through its misleading labeling, but through a

comprehensive scheme of selective fraudulent research and testing, misleading advertising, and

deceptive omissions as more fully alleged throughout this pleading. Plaintiff, like all other

consumers of Pennsylvania, was robbed of his right to make an informed decision about whether

to purchase and use an herbicide on his property, knowing the full risks attendant to that use. Such

conduct was done with conscious disregard of the Plaintiff’s rights.




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       186.    There is no indication that Monsanto will stop its deceptive and unlawful marketing

practices unless it is punished and deterred. Accordingly, Plaintiff requests punitive damages

against Monsanto for the harms caused to the Plaintiff.

                                         JURY DEMAND

       187.    Plaintiffs demand a trial by jury on all of the triable issues within this pleading.

                             TRANSFER TO MASTER DOCKET
       188.    Plaintiffs request for this case to be transferred to the UNITED STATES

JUDICIAL PANEL on MULTIDISTRICT LITIGATION Master Docket, under the style “In Re:

Roundup Products Liability Litigation” and the identification MDL No. 2741, within the Northern

District of California as so ordered in the Transfer Order attached hereto as Exhibit A.

                              CERTIFICATION AND CLOSING

       189.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of

my knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of

litigation; (2) is supported by existing law or by a nonfrivolous argument for extending, modifying,

or reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery; and (4) the complaint otherwise complies with the requirements of Rule

11

                                     PRAYER FOR RELIEF
       190.    WHEREFORE, Plaintiffs request that the Court enter judgment in their favor and

against Monsanto, awarding Plaintiffs:

       a. actual or compensatory damages in such amount to be determined at trial and as
              provided by applicable law;


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